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U.S. Department of Justice

Willl'am D. Weinreb
Acting Um'ted States Attomey
Distn'ct of Massachusetts

 

 

Main Receplian: (6] 7) 743-3100 John Joseph Maakley Um`ted Smtes Caurlhouse
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Sw`!a 9200
Bm-lon, Massach mens 02210

November 17, 2017

James H. Budreau, Esq.
Bassil, Klovee & Budreau

20 Park Plaza

Boston, Massachusetts 02116

Re: United States v. James R. Faro

Dear Mr. Budrcau:

The Acting United States Attorney for the Distn'ct ofMassachusetts (“the U.S. Attorney”)
and your client, James R. Faro (“Defendant”), agree as follows with respect to the above-

referenced case:

l. Change ofPlea

At the earliest practicable date, Defendant shall waive indictment and plead guilty to the
Information attached to this Plea Agreement charging him with one count of Conspiracy to
Commit Bank Fraud, in violation of 18 U.S.C. § 1349. Dcfendant expressly and unequivocally
admits that he committed the crime charged in the Information, did so lcnowingly, intentionally
and willfully, and is in fact guilty of that offense.

2. Penalties

Defendant faces the following maximum penalties on the single count of the lnformation:
incarceration for 30 years; supervised release for 5 years; a fine of $ 1,000,000, or twice the gross
gain/loss, whichever is greater; a mandatory special assessment of $100; restitution; and forfeiture
to the extent charged in the Information.

Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Det`endant is not a citizen of the Um`ted States. Under federal
law. a broad range of crimes are removable offenses including the offense(sl to which Defendant

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is pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal

v from the United States.

3. Sentencing Guidelines

The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines (“USSG” or
“Guidelines”). While the Court may impose a sentence up to and including the statutory maximum
term of imprisonment and statutory maximum Hne, it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a sentence.

The parties agree that Defendant’s base offense level under the USSG (prior to any
adjustment for acceptance of responsibility) is calculated as follows:

¢ in accordance with USSG §§ 2B1.l(a)(l) and (b)(l)(l), Defendant’s base
offense level is 23, because bank fraud is punishable by incarceration for 20
years or more and the loss is more than $1,500,000 but not greater than

$3,500,000.
Further, the U.S. Attorney will take the position that:

v in accordance with USSG §ZBl.l(b)(IO)(C), Defendant’S offense level is
increased by 2 levels because the fraud involved sophisticated means and
Defendant intentionally engaged in or caused the conduct constituting
sophisticated means;

¢ in accordance with USSG § 2Bl.l(b)(16)(A), Defendant’s offense level is
increased by 2 levels because Defendant derived more than $1,000,000 in gross
receipts from one or more financial institutions as a result of the offense; and

v in accordance with USSG § 3Bl.l(c), Defendant’s offense level is increased by
2 levels because Defendant was an organizer, leader, manager, or supervisor of

the subject criminal activity.

Defendant reserves the right to oppose the above-referenced increases to Defendant’s base
offense level.

The U.S. Attorney reserves the right to oppose Defendant’s argument(s) l`or a departure
from, or a sentence outside, the USSG under the factors set forth in 18 U.S.C. § 3553(a).

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Based on Defendant’s prompt acceptance of personal responsibility for the offense of
conviction in this case, and information known to the U.S. Attomey at this time, the U.S. Attomey
agrees to recommend that the Court reduce by three levels Defendant’s adjusted offense level

under USSG § 3E1.l.

The U.S. Attomey reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

(a)
(b)

(C)

(d)

(e)

(f)

(s)
(h)
(i)

(J`)

Fails to admit a complete factual basis for the plea;

Fails to truthfully admit Defendant’s conduct in the _offense(s) of
conviction;

Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG § 1Bl.3;

Fails to provide truthful information about Defendant’s financial status;
Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which

Defendant is accountable under USSG § 1B1.3;

Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3C1.l;

Intentionally fails to appear in Court or violates any condition of release;
Comrnits a crime;

Transfers any asset protected under any provision of this Plea Agreement;
or

Atternpts to withdraw Defendant’s guilty plea.

Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attomey does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attomey may seek an upward adjustment pursuant to USSG §3Cl.l if
Defendant obstructs justice after the date of this Plea Agreement.

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Nothing in this Plea Agreement affects the U.S. Attomcy’s obligation to provide the Court
and the U.S. Probation Offree with accurate and complete information regarding this case.

4. Sentence Recommendation
The U.S. Attomey agrees to recommend the following sentence before the Court:
(a) incarceration of not more than 51 months;
(b) 36 months of supervised release;
(c) a mandatory special assessment of $100, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant

establishes to the Court’s satisfaction that Defendant is unable to do so);

(d) mandatory restitution as ordered by the Court pursuant to 18 U.S.C.
§§ 3663A and 3664; and

(e) forfeiture as set forth in Paragraph 9.
Defendant reserves the right to argue for a non-incarcerative sentence.

Defendant agrees to provide the U.S. Attomey expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than 21
days before sentencing Any basis for sentencing as to which Defendant has not provided the U.S.
Attomey all such items at least 7 days before sentencing shall be deemed waived.

5. Protection of Assets for Pavment of Restitution. Forfeiture and Fine

Defendant agrees not to transfer, or authorize the transfer of, any asset that has been
restrained by Order of the Court in this case or any asset, whether or not restrained, that Defendant
has agreed to forfeit pursuant to this Plea Agreement.

Defendant agrees not to transfer, or authorize the transfer of any other asset in which
Defendant has an interest without prior express written consent of the U.S. Attomey, except for:

(a) Assets subject to superior, secured interests of innocent third parties, in
which Defendant has an equity interest of less than $5,000;

(b) Ordinary living expenses necessary to house, clothe, transport, and feed
Defendant and those to whom Defendant owes a legal duty of support, so
long as such assets do not exceed $2,500 per month; and

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(C)

Attomey’s fees incurred in connection with this criminal case.

This prohibition shall be effective as of the date of Defendant’s execution of this Plea
Agreement and continue until any fine, forfeiture and restitution ordered by the Court at sentencing

is satisfied in full.

If the U.S. Attomey requests, Defendant further agrees to complete truthfully and
accurately the enclosed sworn financial statement and to deliver that statement to the U.S. Attomey
within 30 days of signing this Plea Agreement

6. Waiver of Rights to Appeal and to Bring Future Challenge

(a)

(b)

(C)

(d)

(e)

Defendant has conferred with his attorney and understands that he has the
right to challenge both his conviction and his sentence (including any orders
relating to the terms of supervised release, iines, forfeiture, and restitution)
orr direct appeal. Defendant also understands that, in some circumstances,
Defendant may be able to argue in a future proceeding (collateral or
otherwise), such as pursuant to a motion under 28 U.S.C. § 2255, 28 U.S.C.
§ 2241, or 18 U.S.C. § 3582(c), that Defendant’s conviction should be set
aside or Defendant’s sentence (including any orders relating to the terms of
supervised release, frnes, forfeiture, and restitution) set aside or reduced.

Defendant waives any right to challenge Defendant’s conviction on direct
appeal or in a future proceeding (collateral or otherwise).

Defendant agrees not to tile a direct appeal or challenge in a future
proceeding (collateral or otherwise) any sentence of imprisonment of 51
months or less or any orders relating to the terms of supervised release,
frnes, forfeiture, and restitution This provision is binding even if the
Court’s Guidelines analysis is different from that set forth in this Plea
Agreement

This Plea Agreement does not affect the rights of the United States as set
forth in 18 U.S.C. § 3742(b). Defendant understands and acknowledges
that the U.S. Attomey has retained all appeal rights.

Regardless of the previous sub-paragraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
under Slrickland v. Washz`ngton; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

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7. Other Post-Sentence Events

(a) If, despite the waiver provision of sub-paragraph 6(c), Defendant appeals or
challenges in a future proceeding (eollateral or otherwise) Defendant’s
sentence, the U.S. Attomey reserves the right to argue the correctness of the
sentence imposed by the Court (in addition to arguing that any appeal or
future challenge (collateral or otherwise) is waived as a result of the waiver
in sub-paragraph 6(0)).

(b) If, despite the waiver provision of sub-paragraph 6(c), Defendant seeks rc-
sentencing, Defendant agrees not to seek to be re-sentenced with the benefit
of any change to the Criminal History Category that the Court calculated at
the time of Defendant’s original sentencing, except to the extent that
Defendant has been found actually factually innocent of a prior crime.

(e) In the event of a resentencing following an appeal from or future challenge
(collatcral or otherwise) to Defendant’s sentence, the U.S. Attomey reserves
the right to seek a departure nom and a sentence outside the USSG if, and
to the extent, necessary to reinstate the sentence the U.S. Attomey
advocated at Defendant’s initial sentencing pursuant to this Plea

Agreement
8. Court Not Bound bv Plea Agreement

The parties’ sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Oche or the Court. Within the maximum sentence
Defendant faces under the applicable law, the sentence to be imposed is within the sole discretion
of the Court. Defendant’s plea will be tendered pursuant to Fed. R. Crim. P. ll(c)(l)(B).
Defendant may not withdraw his plea of guilty regardless of what sentence is imposed, or because
the U.S. Probation Oflice or the Court declines to follow the parties’ USSG calculations or
recommendations Should the Court decline to follow the U.S. Attomey’s USSG calculations or
recommendations, the U.S. Attorncy reserves the right to defend the Court’s calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).

9. Forfeiturc

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense

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Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement Defendant agrees not to challenge or seek review of any civil or
administrative forfeiture of any property subject to forfeiture under this Plea Agreement, and will
not assist any third party with regard to such challenge or review.

10. Inforrnation For Presentence R§port

Defendant agrees to provide all information requested by thc U.S. Probation Olfice
concerning Defendant’s assets.

l 1. Civil Liabilig(`

By entering into this Plea Agreement, the U.S. Attomey does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result ofDefendant’s conduct and plea of guilty to the charges specified in Paragraph l of this
Plea Agreement.

12. Rejection of Plea by Court

Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attomey,

13. Breach of Plea Agreement

lf the U.S. Attomey determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant’s pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attomey may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attomey may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement Further, the U.S. Attomey may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant’s guilty plea, but will give the U.S. Attomey the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Tn'al Act.

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14. Who Is Bound Bv Plea Agreement

This Plea Agreement is limited to the U.S. Attomey for the Dism'ct of Massachusetts, and
cannot and does not bind thc Attomey General of the United States or any other federal, state or
local prosecutive authorities

15. Modifications to Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attomey and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attomey Greg A. Friedholm.

Very truly yours,

WILLIAM D. WEINREB
Acting United States Attomey

By: W
KARIN . BELL
Chief, Worcester Branch Oftice
C§REG A./FninnnoLM
Assistant U.S. Attomey

 

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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter in its entirety and discussed it with my attomey. l hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attomey’s
Ofiicc for the District of Massachusctts; (b) there arc no unwritten agreements between rnc and
thc United States Attomcy’s Ofl"icc; and (e) no official ol`thc United States has made any unwritten
promises or representations to nie, in connection with my change of plca. ln addition, l have
received no prior offers to resolve this case. l understand the crime to which l have agreed to plead
guilty, the maximum penalties for that offense and thc Sentcncing Guideline penalties potentially
applicable to it. l am satisfied with the legal representation provided to mc by my attorney. We
have had sufficient time to meet and discuss my case_ We have discussed thc charge against mc,
possible defenses l might have, the terms ofthis Plea Agreement and whether l should go to trial.
I am entering into this Plea Agreement l`recly, voluntarily, and knowingly because l am guilty of
the offense to which l am pleading guilty, and l believe this Plea Agreement,is in my best intercst.

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Date: /..';t?;»:')o§ 17

l certify that James R. Faro has read this Plea Agreement and that we have discussed its
meaning l believe he understands the Plea Agreement and is entering into thc Plea Agreement
freely, voluntarily, and knowingly. I also certify that the U.S ttoi ey has not extended any other
offers regarding a change oi"plea in this case.

   
  

JAMES ;rz’BUDREAU
Atlon cy for Defendant James R. Faro

Date: //)[ " /r[/Z

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